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     Law Office of Salvatore Sciandra
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     Fresno, California 93721
 3   Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4
 5   Attorney for Defendant, OSCAR ROSALES
 6
 7
 8                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )        CASE NUMBER: 1:05-CR-00161-OWW
                                                      )
11                          Plaintiff,                )
     v.                                               )        STIPULATION AND ORDER TO
12                                                    )        CONTINUE TRIAL DATE
     OSCAR ROSALES, et al.,                           )
13                                                    )
                            Defendant.                )
14                                                    )
15          IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and
16   the defendants by and through their attorneys, that the trial in the above-entitle matter be continued. The
17   additional time is necessary for further investigation, trial preparation and settlement negotiations.
18   Following is the new schedule:
19                  Motions in Limine due date is continued from August 11, 2006 to
                    November 3, 2006.
20
21                  Response to Motions in Limine due date is continued from August 16,
                    2006 to November 9, 2006.
22
23                  Trial Confirmation Hearing and Hearing on Motions in Limine is
                    continued from August 21, 2006 at 1:30 p.m. to November 13, 2006 at
24                  1:30 p.m.
25
                    Jury Trial is continued from September 6, 2006 at 1:00 p.m. to November
26                  28, 2006 at 1:00 p.m.
27
                    Jenks material due date of July 19, 2006 continue to October 13, 2006,
28                  AUSA to file Protective Order.
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 1   ///
 2                                                     Respectfully submitted,
 3
 4   DATED: July 11, 2006                              /s/ Salvatore Sciandra
                                                       SALVATORE SCIANDRA
 5                                                     Attorney for Defendant,
                                                       OSCAR ROSALES
 6
 7   DATED: July 11, 2006                              /s/ Karen Escobar
                                                       KAREN ESCOBAR
 8                                                     Assistant United States Attorney
                                                       Agreed to on 7/7/06 in court.
 9
10   DATED: July 11, 2006                              /s/ David Balakian
                                                       DAVID BALAKIAN
11                                                     Attorney for Defendant,
                                                       GILDA ROSALES
12                                                     Agreed to via telephone on 7/11/06.
13
14   DATED: July 11, 2006                              /s/ Victor Chavez
                                                       VICTOR CHAVEZ
15                                                     Attorney for Defendant,
                                                       LEONARD HEREDIA
16                                                     Agreed to on 7/7/06 in court.
17
18   DATED: July 11, 2006                              /s/ Arthur Greenspan
                                                       ARTHUR GREENSPAN
19                                                     Attorney for Defendant,
                                                       RYAN GOMEZ
20                                                     Agreed to via telephone on 7/11/06.
21
22   DATED: July 12, 2006                               /s/ Barbara Hope O’Neill
                                                       BARBARA HOPE O’NEILL
23                                                     Attorney for Defendant,
                                                       JUAN TREJO
24                                                     Agreed to via telephone on 7/12/06.
25
26   DATED: July 11, 2006                               /s/ Stephen Quade
                                                       STEPHEN QUADE
27                                                     Attorney for Defendant,
                                                       JOSE NEGRETE
28                                                     Agreed to on 7/7/06 in court.
     U.S. v. ROSALES, et al.
     STIPULATION AND ORDER TO CONTINUE TRIAL DATE
     CASE NO.: 1:05-CR-00161-OWW                                                             2
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 1   ///
 2                                                   ORDER
     IT IS SO ORDERED.
 3
     Dated: July 15, 2006                                /s/ Oliver W. Wanger
 4   emm0d6                                         UNITED STATES DISTRICT JUDGE
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     U.S. v. ROSALES, et al.
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     CASE NO.: 1:05-CR-00161-OWW                                                   3
